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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            2:12-CR-00180-MCE
12                  Plaintiff,                            FINAL ORDER OF FORFEITURE
13           v.
14   MOHAMMAD SHAHBAZ KHAN,
15                  Defendant.
16

17          WHEREAS, on or about February 12, 2015, this Court entered a Preliminary Order of Forfeiture

18 pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), based upon the plea

19 agreement entered into between plaintiff and defendant Mohammad Shahbaz Khan, forfeiting to the

20 United States the following property:

21                  a.      Approximately $23,671.00 in U.S. Currency.
22          AND WHEREAS, beginning on February 22, 2015, for at least 30 consecutive days, the United

23 States published notice of the Court’s Order of Forfeiture on the official internet government forfeiture

24 site www.forfeiture.gov. Said published notice advised all third parties of their right to petition the

25 Court within sixty (60) days from the first day of publication of the notice for a hearing to adjudicate the

26 validity of their alleged legal interest in the forfeited property;

27          AND WHEREAS, the Court has been advised that no third party has filed a claim to the subject

28 property, and the time for any person or entity to file a claim has expired.
                                                         1
                                                                                             Final Order of Forfeiture
                 Case 2:12-cr-00180-TLN Document 268 Filed 11/10/15 Page 2 of 2



 1          Accordingly, it is hereby ORDERED and ADJUDGED:

 2 1.       A Final Order of Forfeiture shall be entered forfeiting to the United States all right, title, and

 3 interest in the above-listed property pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

 4 including all right, title, and interest of Mohammad Shahbaz Khan. The above-listed property shall be

 5 disposed of according to law.

 6          2.       All right, title, and interest in the above-listed property shall vest solely in the name of the

 7 United States of America.

 8          3.       The U.S. Marshals Service shall maintain custody of and control over the subject

 9 property until it is disposed of according to law.

10          IT IS SO ORDERED.

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12 DATED: November 9, 2015

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                                                   _____________________________________________
15                                                 MORRISON  N C. ENGLLAND, JR, C
                                                                                CHIEF JUDG  GE
                                                   UNITED ST TATES DISSTRICT COU  URT
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                                                                                                 Final Order of Forfeiture
